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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                       Chapter 11

         MATTRESS FIRM, INC., et al.,1                                Case No. 18-12241 (CSS)

                                   Debtors.                           (Joint Administration Requested)


                           DEBTORS’ FIRST OMNIBUS MOTION FOR ENTRY
                       OF AN ORDER (I) AUTHORIZING DEBTORS TO (A) REJECT
                       CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL REAL
                     PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                       LANDLORDS RECEIVING THIS MOTION SHOULD LOCATE
                      THEIR NAMES AND LEASE(S) ON THE SCHEDULE OF LEASES
                         ATTACHED HERETO AS SCHEDULE 1 TO EXHIBIT A

                  Mattress Firm, Inc. and its affiliated debtors and debtors in possession in the above-

         captioned chapter 11 cases (collectively, the “Debtors”) submit this motion (this “Motion”),

         pursuant to sections 105(a), 362(d), 365(a), and 554(a) of title 11 of the United States Code,

         11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and rules 6006 and 6007 of the Federal Rules

         of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order (the “Proposed Order”),

         substantially in the form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject

         certain unexpired leases (including any guarantees thereof and any amendments or modifications

         thereto or assignments or subleases thereof, collectively, the “Leases”) of nonresidential real

         property located at the addresses of the Debtors’ retail stores set forth on Schedule 1 to Exhibit

         A attached hereto (collectively, the “Closing Stores”), and (b) abandon certain furniture, fixtures,

         1
           The last four digits of Mattress Firm Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, for which the Debtors have requested joint administration, a complete list of the Debtors and the last four
         digits of their federal tax identification numbers is not provided herein. This information may be obtained on the
         website of the Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for
         the Debtors.
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         equipment and other assets at the Closing Stores (collectively, the “Remaining Property”), each

         effective as of the Rejection Date (as defined below), and (ii) granting related relief. In support

         of this Motion, the Debtors submit the Declaration of Hendré Ackermann in Support of the

         Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day Declaration”) filed

         contemporaneously herewith and incorporated by reference. In further support of this Motion,

         the Debtors respectfully state as follows:

                               STATUS OF THE CASES AND JURISDICTION

                1.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

         Court for the District of Delaware (the “Court”). Concurrently with the filing of this Motion, the

         Debtors have requested joint administration and procedural consolidation of these chapter 11

         cases pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their businesses

         and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

         the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these

         cases, and no statutory committee has been appointed.

                2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

         U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to

         the entry of a final order or judgment by the Court in connection with this Motion if it is

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution.

                3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


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                 4.      The statutory and other bases for the relief requested in this Motion are sections

         105(a), 362(d), 365(a), and 554(a) of the Bankruptcy Code and Bankruptcy Rules 6006 and

         6007.

                      THE DEBTORS’ PREPACKAGED PLAN OF REORGANIZATION

                 5.      Concurrently with this Motion, the Debtors have filed a joint prepackaged chapter

         11 plan of reorganization (the “Plan”) and a related disclosure statement (the “Disclosure

         Statement”). The Debtors have also filed a motion to schedule a combined hearing for the Court

         to consider approval of the Disclosure Statement and confirmation of the Plan. All classes of

         claims against the Debtors are unimpaired under the Plan.

                                        BACKGROUND OF THE DEBTORS

                 6.      Additional information regarding the Debtors’ business, capital structure and the

         circumstances preceding the Petition Date are set forth in the First Day Declaration.

                                                      THE LEASES

                 7.      As of the Petition Date, the Debtors operate approximately 3,230 retail stores in

         49 states.2 As a key component of their restructuring strategy, the Debtors are engaged in

         ongoing efforts to optimize their retail network. The Debtors, in consultation with their advisors,

         have analyzed store-level earnings, occupancy costs, and other data and identified certain stores

         that are underperforming or competing with other stores operated by the Debtors. By this

         Motion, the Debtors, in their reasonable business judgment, are requesting authority to reject the

         Leases of 100 stores—i.e., the Closing Stores—as of October 31, 2018, which is the date by

         which the Debtors will have ceased operations at the Closing Stores, vacated and surrendered


         2
           The Debtors’ operations also include approximately 125 franchisee-operated stores in Alaska, Montana, New
         Mexico, North Dakota, South Dakota and West Virginia, as well as certain franchised markets in Georgia, Iowa,
         Mississippi, New York, Oklahoma, South Carolina and Texas, which also operate under the Mattress Firm® brand
         name.
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         possession of the Closing Stores, and delivered the keys to the Closing Stores to the respective

         landlords (such date, with respect to each Closing Store, the “Rejection Date”).3

                 8.       The Leases provide no benefit to the Debtors’ estates. By rejecting the Leases,

         the Debtors will save approximately $1.4 million per month in rent and associated costs. Absent

         rejection, the Debtors would be obligated to continue to pay rent under the Leases even though

         the Debtors will have ceased operations at, and will no longer continue in possession of, the

         Closing Stores. Moreover, in addition to their obligations to pay rent under the Leases, the

         Debtors would also be obligated to pay certain real property taxes, utilities, insurance and similar

         charges. The Debtors have determined in their business judgment that such costs constitute a

         waste of estate assets. The cost of maintaining the Closing Stores outweighs any revenues that

         the Closing Stores currently generate or are likely to generate in the future. Moreover, given the

         obligations under the Leases and current market conditions, the Debtors have concluded, in

         consultation with their advisors, that the Leases are not marketable and are unlikely to generate

         material value for the Debtors’ estates.

                                             THE REMAINING PROPERTY

                 9.       In the ordinary course of business, the Debtors have accumulated certain

         miscellaneous assets at the Closing Stores, including certain furniture, fixtures, and equipment of

         de minimis value. The Debtors generally will remove these assets from the Closing Stores and

         transport such assets to the Debtors’ distribution centers or other stores. The Debtors have

         determined, however, in the exercise of their business judgment, that certain of these assets will

         3
           Concurrently with the filing of this Motion, the Debtors have filed the Debtors’ Second Omnibus Motion for Entry
         of an Order (I) Authorizing Debtors to (A) Reject Certain Unexpired Leases of Nonresidential Real Property and
         (B) Abandon Certain Personal Property in Connection Therewith and (II) Granting Related Relief and the Debtors’
         Third Omnibus Motion for Entry of an Order (I) Authorizing Debtors to (A) Reject Certain Unexpired Leases of
         Nonresidential Real Property and (B) Abandon Certain Personal Property in Connection Therewith and (II)
         Granting Related Relief (together with this Motion, the “Omnibus Lease Rejection Motions”), and have listed the
         landlords’ names alphabetically in accordance with Bankruptcy Rule 6006.
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         be exceedingly difficult or expensive to remove or store (the “Remaining Property”).

         Accordingly, the Debtors will not realize any economic benefit by retaining the Remaining

         Property. Therefore, the Debtors are requesting authority to abandon any Remaining Property at

         the Closing Stores.

                                                    RELIEF REQUESTED

                  10.      By this Motion, the Debtors request entry of the Proposed Order, substantially in

         the form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject the Leases set

         forth on Schedule 1 to Exhibit A attached hereto as of the Rejection Date and (b) abandon the

         Remaining Property, each effective as of the Rejection Date and (ii) granting related relief. The

         Debtors reserve all rights to modify the schedule of Leases, including by removing one or more

         Leases from Schedule 1, without prejudice to their rights to reject such Leases at a later date.4

                                                      BASIS FOR RELIEF

          I.    The Court Should Authorize the Rejection of the Leases under Section 365(a) of the
                Bankruptcy Code as a Reasonable Exercise of the Debtors’ Business Judgment.

                  11.      Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the

         court’s approval, may assume or reject any . . . executory contract or unexpired lease of the

         debtor.” 11 U.S.C. § 365(a). The purpose behind section 365(a) is “to permit the trustee or

         debtor-in-possession to use valuable property of the estate and to renounce title to and abandon

         burdensome property.”          In re Republic Airways Holdings Inc., 547 B.R. 578, 582 (Bankr.

         S.D.N.Y. 2016) (quoting Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures

         Corp.), 4 F.3d 1095, 1098 (2d Cir. 1993)); see also Nat’l Labor Relations Bd. v. Bildisco &

         4
           The Debtors may also request authority to reject additional leases if their efforts to renegotiate the terms of such
         leases are unsuccessful. The Debtors intend to file a Motion for Entry of an Order (I) Authorizing and Approving
         Procedures to Reject Unexpired Leases of Nonresidential Real Property and (II) Granting Related Relief (the
         “Rejection Procedures Motion”). If granted, the relief requested in the Rejection Procedures Motion would not
         apply to the Leases that are the subject of the Omnibus Lease Rejection Motions and would only apply to additional
         leases that the Debtors may request authority to reject, if any.
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         Bildisco (In re Bildisco), 465 U.S. 513, 528 (1984) (“[T]he authority to reject an executory

         contract is vital to the basic purpose to a Chapter 11 reorganization, because rejection can release

         the debtor’s estate from burdensome obligations that can impede a successful reorganization.”);

         In re Exide Techs., 607 F.3d 957, 967 (3d Cir. 2010) (“Courts may use § 365 to free a [debtor]

         from burdensome duties that hinder its reorganization”).

                12.     The standard applied by courts to determine whether the assumption or rejection

         of an unexpired nonresidential lease should be authorized is the “business judgment” test, which

         requires a debtor to have determined that the requested assumption or rejection would be

         beneficial to its estate. See Grp. of Institutional Inv’rs, Inc. v. Chi., Milwaukee, St. Paul & Pac.

         R.R., 318 U.S. 523, 550 (1943) (noting that “the question whether a lease should be

         rejected . . . is one of business judgment”); In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982), aff’d,

         465 U.S. 513 (“The usual test for rejection of an executory contract is simply whether rejection

         would benefit the estate, the ‘business judgment’ test.”); accord In re HQ Glob. Holdings, Inc.,

         290 B.R. 507, 511 (Bankr. D. Del. 2003).

                13.     In applying the business judgment standard, bankruptcy courts give deference to a

         debtor’s decision to assume or reject leases. See Computer Sales Int’l, Inc. v. Fed. Mogul

         Global, Inc. (In re Fed. Mogul Global, Inc.), 293 B.R. 124, 126 (D. Del. 2003) (“The business

         judgment test dictates that a court should approve a debtor’s decision to reject a contract unless

         that decision is the product of bad faith or a gross abuse of discretion”); In re Trans World

         Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“[A] debtor’s decision to reject an

         executory contract must be summarily affirmed unless it is the product of bad faith, or whim or

         caprice.”).




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                 14.    The Debtors’ rejection of the Leases is within the Debtors’ business judgment and

         will serve the best interests of their estates. As stated above, the Debtors are engaged in ongoing

         efforts to optimize their retail network and, in consultation with their advisors, have determined

         to cease operations at the Closing Stores. See First Day Declaration § IV.C.1. The Debtors are

         requesting authority to reject the Leases to avoid the incurrence of any additional, unnecessary

         administrative expenses in connection with the Closing Stores. The Debtors have concluded that

         the cost of maintaining the Closing Stores outweighs any revenues that the Closing Stores

         currently generate or are likely to generate in the future, and that the costs associated with the

         Leases exceed any marginal benefits that could potentially be achieved from the assignment or

         sublease of the Leases. See First Day Declaration § IV.C.1. For the foregoing reasons, the

         Debtors believe that rejecting the Leases is a reasonable exercise of their business judgment and

         should be approved.

        II.     The Court Should Authorize the Debtors to Abandon the Remaining Property under
                Section 554(a) of the Bankruptcy Code.

                 15.    Under section 554(a) of the Bankruptcy Code, a debtor, after notice and a hearing,

         is authorized to “abandon any property of the estate that is burdensome to the estate or that is of

         inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). In abandoning property

         under section 554, “the debtor ‘need only demonstrate that [it] has exercised sound business

         judgment in making the determination to abandon.” In re Contract Research Solutions, Inc.,

         Case No. 12-11004 (KJC), 2013 Bankr. LEXIS 1784, at *11 (Bankr. D. Del. May 1, 2013). The

         right to abandon property is virtually unfettered, unless (a) abandonment of the property will

         contravene laws designed to protect public health and safety or (b) the property poses an

         imminent threat to the public’s welfare. See Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot.

         474 U.S. 494, 501 (1986). Neither of these limitations is relevant under the instant facts.

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                16.     Any Remaining Property left at the Closing Stores is of inconsequential value to

         the Debtors’ estates, and the cost to the Debtors of retrieving, storing, marketing, and reselling

         the Remaining Property will exceed any realistic economic benefit that might be realized by

         retaining such property. Accordingly, the Debtors have determined, in the exercise of their

         sound business judgment, that their decision to abandon any Remaining Property will be in the

         best interests of the Debtors and their estates.

                17.     To facilitate the Debtors’ abandonment of the Remaining Property, the Debtors

         also request authorization under section 362(d) of the Bankruptcy Code, which permits a

         modification of the automatic stay for “cause,” to the extent necessary to permit the relevant

         landlords to dispose of any Remaining Property without further notice or any liability to the

         Debtors or any third parties and without waiving any claims against the Debtors.

                                           RESERVATION OF RIGHTS

                18.     Nothing contained in this motion or any actions taken by the Debtors pursuant to

         relief granted in the Order is intended or should be construed as: (a) an admission as to the

         validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

         Debtors’ or any other party-in-interest’s rights to dispute any particular claim on any grounds; (c)

         a promise or requirement to pay any particular claim; (d) an implication or admission that any

         particular claim is of a type specified or defined in this motion; (e) a request or authorization to

         assume any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a

         waiver or limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy

         Code or any other applicable law; or (g) a concession by the Debtors or any other party-in-

         interest that any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to




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         this motion are valid and the Debtors and all other parties-in-interest expressly reserve their

         rights to contest the extent, validity, or perfection, or to seek avoidance of all such liens.

                WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h) REQUIREMENTS

                 19.     In addition, by this Motion, the Debtors request a waiver of any stay of the

         effectiveness of the order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n

         order authorizing the use, sale, or lease of property other than cash collateral is stayed until the

         expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr.

         P. 6004(h). As set forth above, the Debtors require immediate relief in the form of an order

         authorizing their rejection of the Leases as of the Rejection Date. Accordingly, the Debtors

         submit that ample cause exists to justify a waiver of the 14-day stay imposed by Bankruptcy

         Rule 6004(h), to the extent that it applies.

                 20.     Similarly, for the reasons stated above, the Debtors request a waiver of the notice

         requirements of Bankruptcy Rule 6004(a) to the extent they are deemed applicable.

                                                        NOTICE

                 21.     Notice of this Motion will be provided to (i) the landlords under the Leases;

         (ii) the U.S. Trustee; (iii) the holders of the thirty (30) largest unsecured claims against the

         Debtors on a consolidated basis; (iv) counsel to the DIP Agents; (v) counsel to the Prepetition

         ABL Agent; (vi) counsel to the Prepetition Term Loan Lender; (vii) counsel to Steinhoff

         International Holdings N.V; (viii)counsel to the exit term loan financing backstop group; (ix) the

         United States Attorney’s Office for the District of Delaware; (x) the Internal Revenue Service;

         (xi) the United States Department of Justice; and (xii) any party that has requested notice

         pursuant to Bankruptcy Rule 2002. Although Bankruptcy Rule 6007 requires the Debtors to

         serve a motion to abandon property on, among other parties, all of the Debtors’ creditors, Local


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         Rule 2002-1(b) abrogates that rule. Accordingly, the Debtors submit that, in light of the nature

         of the relief requested, no other or further notice need be given.


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                WHEREFORE the Debtors respectfully request that the Court enter the Proposed Order,

         substantially in the form attached hereto, granting the relief requested herein and such other and

         any further relief as the Court may deem just and proper.



         Dated: October 5, 2018              SIDLEY AUSTIN LLP
         Wilmington, Delaware                Bojan Guzina
                                             Matthew E. Linder
                                             Blair M. Warner
                                             One South Dearborn Street
                                             Chicago, Illinois 60603
                                             Telephone: (312) 853-7000
                                             Facsimile: (312) 853-7036

                                                       -and-

                                             SIDLEY AUSTIN LLP
                                             Gabriel R. MacConaill (No. 4734)
                                             Michael Fishel
                                             555 West Fifth Street, Suite 4000
                                             Los Angeles, California 90013
                                             Telephone: (213) 896-6000
                                             Facsimile: (213) 896-6600
                                                       -and-
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                             /s/ Ashley E. Jacobs
                                             Robert S. Brady (No. 2847)
                                             Edmon L. Morton (No. 3856)
                                             Ashley E. Jacobs (No. 5635)
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 571-6600
                                             Facsimile: (302) 571-1253

                                             PROPOSED ATTORNEYS FOR THE DEBTORS
                                             AND DEBTORS IN POSSESSION




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                                       Exhibit A

                                    Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                         FIRST OMNIBUS ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                  REAL PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and

         debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

         entry of an order (this “Order”) (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 attached hereto and (b) abandon the Remaining Property, each effective as of the

         Rejection Date and (ii) granting related relief, all as more fully set forth in the Motion; and the

         Court being able to issue a final order consistent with Article III of the United States

         Constitution; and venue of this proceeding and the Motion being proper pursuant to 28 U.S.C.

         §§ 1408 and 1409; and appropriate notice of and the opportunity for a hearing on the Motion

         having been given and it appearing that no other or further notice need be provided; and this

         Court having reviewed the Motion and having heard the statements in support of the relief

         requested therein at a hearing before this Court; and all objections, if any, to the Motion having


         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
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          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Motion.
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         been withdrawn, resolved or overruled; and the relief requested in the Motion being in the best

         interests of the Debtors’ estates, their creditors and other parties in interest; and this Court having

         determined that the legal and factual bases set forth in the Motion establish just cause for the

         relief granted herein; and after due deliberation and sufficient cause appearing therefor, it is

         HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized to reject the Leases set forth on the attached

         Schedule 1, effective as of the Rejection Date, pursuant to sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rules 6006 and 6007.

                3.      The Debtors are authorized, but not directed, to abandon any Remaining Property

         located at the Closing Stores subject to the Leases, in the Debtors’ sole discretion, free and clear

         of all liens, claims, encumbrances and rights of third parties, with such abandonment being

         effective as of the Rejection Date. The landlords under the Leases are authorized to dispose of

         any Remaining Property without further notice or any liability to the Debtors or any third parties

         and without waiving any claims against the Debtors. The automatic stay is modified to the

         extent necessary to allow the disposition of any Remaining Property.

                4.      Within two business days after entry of this Order, the Debtors shall serve a copy

         of this Order and the attached Schedule 1 on the landlords under the Leases.

                5.      The landlords under the Leases must file a proof of claim relating to the rejection

         of such Leases, if any, by 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days

         after the Effective Date (as defined in the Plan). Proofs of claim and instructions for submission

         may be obtained on the website of the Debtors’ noticing and claims agent at

         http://dm.epiq.com/MattressFirm.


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                6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

         such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

         amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

         party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim

         is of a type specified or defined in this motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or

         any other applicable law; or (g) a concession by the Debtors or any other party-in-interest that

         any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this motion are

         valid and the Debtors and all other parties-in-interest expressly reserve their rights to contest the

         extent, validity, or perfection, or to seek avoidance of all such liens.

                7.      The Debtors do not waive any claims that they may have against any counterparty

         to the Leases, whether or not such claims arise under, are related to the rejection of, or are

         independent of the Leases.

                8.      Nothing herein shall prejudice the rights of the Debtors to argue that any of the

         Closing Store Leases were terminated prior to the Petition Date; that any claim for damages

         arising from the rejection of the Closing Store Leases is limited to the remedies available under

         any applicable termination provision of such Lease; or that any such claim is an obligation of a

         third party and not that of the Debtors or their estates.

                9.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)

         because the relief granted in this Order is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.


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                10.      Notice of the Motion shall be deemed good and sufficient notice of such Motion,

         and the requirements of Bankruptcy Rule 6004(a) and the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware are waived by

         such notice.

                11.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                12.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.

                13.      Notwithstanding anything to the contrary in this Order or the Motion, any

         payment, obligations, or other relief authorized by this Order shall be subject to the terms,

         conditions, and limitations contained in the orders of this Court approving the Debtors’ entry into

         and performance under the debtor-in-possession financing documents and cash collateral use,

         including any budget in connection therewith.

                14.      This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware
                                                               CHRISTOPHER S. SONTCHI
                                                               CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                      Schedule 1

                                        Leases




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                                                             Schedule 11

                   COUNTERPARTY-LANDLORD AND
                                                                       DEBTOR                  PROPERTY ADDRESS
                            ADDRESS

             1.          10500 W. Colfax Ave, LLC
                                                                                                10460 West Colfax Ave,
                           2085 South Holly Street                 Mattress Firm, Inc.
                                                                                                 Lakewood, CO 80215
                             Denver, CO, 80222

             2.         1081 Washington Street, LLC
                             P.O. Box 920595                                                    1081 Washington Street,
                                                                     Sleepy’s, LLC
                          ATTN: Mike Sokolowski                                                   Newton, MA 02465
                           Needham, MA, 02492

             3.         131 Harbison Boulevard, LLC
                         c/o Biltmore Property Group                                         131 Harbison Blvd., Ste 100,
                                                                   Mattress Firm, Inc.
                            10 Brook St Suite 205                                               Columbia, SC 29212
                             Asheville, NC, 28803

             4.         1630 Westchester Realty Co.
                                                                                               3520 N Federal Highway,
                     1250 E. Hallandale Beach Boulevard            Mattress Firm, Inc.
                                                                                               Fort Lauderdale, FL 33308
                           Hallandale, FL, 33009

             5.                 183-620, LP
                                                                                               13000 N FM 620 RD SB,
                       515 Congress Avenue, Suite 2325             Mattress Firm, Inc.
                                                                                                Cedar Park, TX 78613
                             Austin, TX, 78701

             6.              205 Commerce, LLC                                                 11600 SE Mille Plan Blvd,
                            200 International Way                 The Sleep Train, Inc.               Suite 3D,
                            Springfield, OR, 97477                                               Vancouver, OR 98684

             7.             4826 Greenville LLC
                   4403 North Central Expressway, Suite 110                                    4826 Greenville Avenue,
                                                                   Mattress Firm, Inc.
                            ATTN: Corey Duhon                                                     Dallas, TX 75206
                              Dallas, TX, 75205

             8.            5048 Bayou Realty LLC
                               c/o Heitmat LP
                                                                                                   5048 Bayou Blvd,
                              173 Burnell Place                    Mattress Firm, Inc.
                                                                                                  Pensacola, FL 32503
                           ATTN: Toni Reichmann
                            Davidson, NC, 28036

             9.           557 RT 130 IN EWT LLC
                                                                                                 557 Route 130 North,
                             26 Copperdale Lane                      Sleepy’s, LLC
                                                                                                East Windsor, NJ 08520
                           Huntington, NY, 11743

             10.            570 Zang Street, LLC
                               200 Lipan Street                                                   570 Zang St, Ste B,
                                                                   Mattress Firm, Inc.
                            ATTN: Alvin Estevez                                                  Broomfield, CO 80021
                          Fort Lauderdale, FL, 33308


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           The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
         the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.
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           11.           575 BPR-Orange, Inc.
                        d/b/a 575 Post Properties                                      575 Boston Post Road Route 1,
                                                                     Sleepy’s, LLC
                          17 South Main Street                                              Orange, CT 06477
                        West Hartford, CT, 06107

           12.       600 Broadway Apartments, LLC
                          c/o Klein Enterprises                 Mattress Discounters         1625 Fleet Street,
                    1777 Reiserstown Road, Suite 245             Operations LLC            Baltimore, MD 21231
                         Baltimore, MD, 21208

           13.        6610-6840 W. Kelloggs, LLC
                      c/o Pan American Realty LLC                                           6836 West Kellogg,
                                                                Mattress Firm, Inc.
                         9515 Plaza Circle Drive                                            Wichita, KS 67209
                           El Paso, TX, 79927

           14.       700 Stratford Road Partners, LLC
                          121 N Crutchfield, St.                                            235 Harvey Street,
                                                                     Sleepy’s, LLC
                       ATTN: C. Patrick Crosby, Jr.                                      Winston Salem, NC 27103
                            Dobson, NC, 27017

           15.   745 Route 46 Investors TIC II LLC & 745
                      Route 46 Investors TIC III LLC
                                                                                               745 Route 46,
                               166 Route 22                          Sleepy’s, LLC
                                                                                           Parsippany, NJ 07054
                            Attn: Bruce Jeffery
                       North Plainfield, NJ, 07060

           16.            7th & Greenwood, LLC
                                                                                        2504 Battleground Avenue,
                         61370 Cultus Lake Court                     Sleepy’s, LLC
                                                                                          Greensboro, NC 27408
                             Bend, OR, 97702

           17.             92-96 Sassco LLC
                           58-08 Myrtle Ave                                                   92 Ferry Street,
                                                                     Sleepy’s, LLC
                          ATTN: Steven Sasso                                                 Newark, NJ 07105
                         Ridgewood, NY, 11385

           18.         Aberdeen Marketplace, Inc.
                     c/o Carl M. Freeman Companies
                                                                                       1016 Beards Hill Road Suite K,
                     11 1 Rockville Pike, Suite 1100                 Sleepy’s, LLC
                                                                                           Aberdeen, MD 21001
                        ATTN: Louie Andrakakos
                          Rockville, MD, 20850

           19.          Aberfeldy Properties, Inc.
                    c/o TIG Real Estate Services, Inc.
                                                                                       3200 W. Anderson Ln, Ste 101,
                  901 S. MoPac Expressway, Building 4,          Mattress Firm, Inc.
                                                                                          Austin, TX 78757 - 1010
                               Suite 285
                           Austin, TX, 78746

           20.        Abrams Willowbrook I & II, LP
                 c/o Gordon Partners Property Management                                   17689 Tomball Pkwy,
                                                                Mattress Firm, Inc.
                     4900 Woodway Drive, Suite 1125                                         Houston, TX 77064
                           Houston, TX, 77056

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           21.   AGM Mayfair Plaza, LLC, AJM Mayfair
                 Plaza, LLC & EJB Mayfair PLaza, LLC
                                                                                       4840 N Pulaski Road,
                             234 Bennett Ave                  Mattress Firm, Inc.
                                                                                        Chicago, IL 60630
                        ATTN: Augusto Mandara
                         Staten Island, NY, 10312

           22.        Alamance Crossing CMBS, LLC
                  c/o CBL & Associates Management, Inc.                              1595 Glidewell Drive Suite
                    2030 Hamilton Place Boulevard CBL         Mattress Firm, Inc.              101,
                            Center, Suite 500                                          Burlington, NC 27215
                         Chattanooga, TN, 37421

           23.        Alamance Crossing CMBS, LLC
                  c/o CBL & Associates Management, Inc.
                                                                                        3137 Waltham Blvd,
                    2030 Hamilton Place Boulevard CBL             Sleepy’s, LLC
                                                                                        Burlington, NC 27215
                             Center, Suite 500
                       Chattanooga, TN, 37421-6000

           24.              Alexion Properties
                             690 Braeburn Dr                                             9 East Golf Road,
                                                              Mattress Firm, Inc.
                            ATTN: Dino Alex                                          Hoffman Estates, IL 60169
                           Inverness, IL, 60067

           25.              Alicia Associates
                       1811 Ocean Parkway, Unit 2E                                     945 Flatbush Avenue,
                                                                  Sleepy’s, LLC
                          ATTN: Joseph Heiney                                           Brooklyn, NY 11226
                          Brooklyn, NY, 11223

           26.           Alpha IV Partners, LLC
                                                                                     1754 S. Greenfield Rd. ste.
                         c/o Diversified Partners
                                                              Mattress Firm, Inc.              103,
                   7500 E. McDonald Drive, Suite 100A
                                                                                          Mesa, AZ 85206
                          Scottsdale, AZ, 85250

           27.            AmCap Harmony LLC
                             c/o AmCap, Inc.                                         356 East Harmony Rd 6A,
                                                              Mattress Firm, Inc.
                 333 Ludlow Street, 8th Floor, South Tower                            Fort Collins, CO 80525
                           Stamford, CT, 06902

           28.   Arlington Heights Promenade Partnership
                          122 Circle Ridge Drive                                          349 E Rand Road,
                                                              Mattress Firm, Inc.
                         ATTN: Prema Plamootil                                       Arlington Heights, IL 60004
                          Burr Ridge, IL, 60527

           29.      Arrowrock II Prestonwood Village
                                                                                     15340 Dallas Parkway Suite
                       c/o Summit Realty Ventures
                                                              Mattress Firm, Inc.              2150,
                    101 South Hanley Road, Suite1400
                                                                                         Dallas, TX 75248
                          St. Louis, MO, 63105

           30.                 Arvee, LLC
                                                                                      1 New London Avenue,
                          1051 Reservoir Avenue                   Sleepy’s, LLC
                                                                                        Cranston, RI 02920
                           Cranston, RI, 02910

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           31.                Aurora Plaza
                    c/o National Shopping Plazas, Inc.                                   2365 N Farnsworth Avenue,
                                                                Mattress Firm, Inc.
                   200 West Madison Street, Suite 4200                                        Aurora, IL 60502
                         Chicago, IL, 60606-3465

           32.               BECAR Venture
                           c/o Beeson Properties                                             3115 West Loop S.,
                                                                Mattress Firm, Inc.
                             550 Waugh Drive                                                 Houston, TX 77027
                            Houston, TX, 77019

           33.              Beta Holdings, LP
                                                                                             301 Tukwila Pkwy,
                     18827 Bothell Way NE, Suite 110            The Sleep Train, Inc.
                                                                                             Tukwila, WA 98188
                           Bothell, WA, 98011

           34.              BOS Retail I, LLC
                 c/o Zurich Alternative Asset Management
                 150 Greenwich Street - 4 World Trade Ctr,                                  57 Andrew Avenue,
                                                                     Sleepy’s, LLC
                                52nd Floor                                                  Wayland, MA 01778
                        ATTN: Asset Management
                          New York, NY, 10007

           35.         BRC Wendover Shoppes, LLC
                   c/o Blue Ridge Property Management
                                                                                          4008 Brian Jordan Place,
                        5826 Samet Drive, Suite 105                  Sleepy’s, LLC
                                                                                           High Point, NC 27265
                         ATTN: Stephanie DeFratis
                          High Point, NC, 27265

           36.           Broadway Enigma, LLC                                            11470 Broadway Street Ste
                          10216 Beechnut Street                 Mattress Firm, Inc.                110,
                           Houston, TX, 77072                                               Pearland, TX 77584

           37.                C4 Elion, LLC
                          c/o Crosland Southeast                                        2501 East Franklin Blvd, Ste.,
                                                                Mattress Firm, Inc.
                     201 S. College Street, Suite 1300                                      Gastonia, NC 28056
                           Charlotte, NC, 28244

           38.        Capital of Texas Joint Venture
                         c/o Dick Ferrell & Co.
                                                                                        9705 Research Blvd Suite A,
                      7557 Rambler Road, Suite 570              Mattress Firm, Inc.
                                                                                             Austin, TX 78759
                           ATTN: Dick Ferrell
                            Dallas, TX, 75231

           39.            Capitol Ventures, LLC
                      c/o Prospect Enterprises, LLC                                        9 Fieldstone Commons,
                                                                     Sleepy’s, LLC
                     433 South Main Street, Suite 328                                         Tolland, CT 06084
                        West Hartford, CT, 06110

           40.    Capview Income & Value Fund IV, L.P.
                                                                                               26526 I-45 N,
                  5910 N. Central Expressway, Suite 1625        Mattress Firm, Inc.
                                                                                              Spring, TX 77386
                            Dallas, TX, 75206


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           41.               Carrera, LLC
                           c/o BrodyCo, Inc.
                                                                                         610 SE Greenville Blvd,
                    530 SE Greenville Blvd., Suite 200         Mattress Firm, Inc.
                                                                                          Greenville, NC 27858
                           ATTN: H. J. Brody
                         Greenville, NC, 27858

           42.         CE Boulevard Phase II LLC
                 14400 South John Humphrey Drive, Suite
                                                                                       1142 S. Brentwood Boulevard,
                                  200                          Mattress Firm, Inc.
                                                                                       Richmond Heights, MO 63117
                         ATTN: Ramzi Hassan
                         Orland Park, IL, 60462

           43.             Cedar-Palmyra, LLC
                                                                                        901 East Main Street Space
                         c/o Cedar-Palmyra Trust
                                                                    Sleepy’s, LLC                 #20,
                      44 S Bayles Avenue, Suite 304
                                                                                            Palmyra, PA 17078
                       Port Washington, NY, 11050

           44.             Cesare-Jones, LLC
                                                                                           2100 Panama Lane,
                         2512 Oak View Court                   The Sleep Train, Inc.
                                                                                          Bakersfield, CA 93307
                         Bakersfield, CA, 93311

           45.        CFT NV Developments LLC                                          9319 Highway 6 South, Suite
                      1683 Walnut Grove Avenue                 Mattress Firm, Inc.                C,
                        Rosemead, CA, 91770                                                Houston, TX 77083

           46.   CGP 2703W. Deyoung Street MF, LLC
                   c/o Capital Growth Buchalter, Inc.                                  2703 W. Deyoung Street Ste.
                   361 Summit Boulevard, Suite 110             Mattress Firm, Inc.                B,
                        ATTN: Robert Buchalter                                              Marion, IL 62959
                        Birmingham, AL, 35243

           47.           CGP Willmar MF, LLC
                    c/o Capital Growth Buchalter, Inc.                                    2556 1st Street South,
                                                               Mattress Firm, Inc.
                    361 Summit Boulevard, Suite 110                                        Willmar, MN 56201
                         Birmingham, AL, 35243

           48.      CH Retail Fund I/Plano Luna, LP
                                                                                            3937 North Central
                          c/o DuWest Realty
                                                               Mattress Firm, Inc.             Expressway,
                      4403 N Central Expressway
                                                                                             Plano, TX 75023
                          Dallas, TX, 75205

           49.        Chandler Festival SPE, LLC
                      c/o RED Development, LLC                                          2780 W Chandler Blvd #7,
                                                               Mattress Firm, Inc.
                  One East Washington Street, Suite 300                                    Chandler, AZ 85224
                          Phoenix, AZ, 85004

           50.              Chen Enterprises
                                                                                             1414 R Street,
                         1610 Chardonnay Ridge                 The Sleep Train, Inc.
                                                                                            Merced, CA 95340
                           Aptos, CA, 95003



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           51.       Clarksburg Village Center, LLC
                  c/o Metro Management Services LLC                                  22750 Newcut Road Suite D1,
                                                                   Sleepy’s, LLC
                      8230 Leesburg Pike, Suite 620                                     Clarksburg, MD 20871
                           Vienna, VA, 22182

           52.    Commerce Limited Partnership #9005
                         c/o Commerce Group                                             445 West Dekalb Pike,
                                                                   Sleepy’s, LLC
                    1280 West Newport Center Drive                                     King of Prussia, PA 19406
                      Deerfield Beach, FL, 33442

           53.            Creekside TIC LLC
                                                                                      7205 W Colfax Avenue, Ste
                       c/o Brown and Associates
                                                              Mattress Firm, Inc.               100,
                         7687 W 88th Avenue
                                                                                         Lakewood, CO 80214
                          Arvada, CO, 80005

           54.           Crest Property LLC
                       c/o Washington Federal                                          710 Old San Antonion Rd,
                                                              Mattress Firm, Inc.
                     5430 LBJ Freeway, Suite 100                                            Buda, TX 78610
                          Dallas, TX, 75205

           55.            Crooked Run LLC                                             135 Crooked Run Plaza Suite
                    7900 Westpark Drive, Suite T420                Sleepy’s, LLC                 #50,
                       McLean, VA, 22102-4216                                            Front Royal, VA 22630

           56.              Cullfirm LLC
                        c/o Robbins Properties                                          1817 Cherokee Ave SW,
                                                              Mattress Firm, Inc.
                    3100 West End Ave., Suite 1070                                        Cullman, AL 35055
                         Nashville, TN, 37203

           57.    CV Shopping Center Associates LLC
                   c/o Property Management Services           Mattress Discounters   1701 Rockville Pike Suite A14,
                          6420 Montrose Road                   Operations LLC            Rockville, MD 20852
                         Rockville, MD, 20852

           58.       DCTN3 342 Mobile AL, LLC
                         c/o N3 Real Estate                                                3683 Airport Blvd,
                                                              Mattress Firm, Inc.
                      1240 N. Kimball Avenue                                               Mobile, AL 36608
                       Southlake, TX, 76092

           59.     DCTN3 373 Southlake TX, LLC
                         c/o N3 Real Estate                                           2645 E. Southlake Blvd., Ste.
                      1240 N. Kimball Avenue                  Mattress Firm, Inc.                140,
                  ATTN: Jan Davidson/Kaci Duplantis                                      Southlake, TX 76092
                       Southlake, TX, 76092

           60.         Denton Real Estate LLC
                                                                                            1725 I-35 East,
                      4445 Alpha Road, Suite 109              Mattress Firm, Inc.
                                                                                           Denton, TX 76205
                          Dallas, TX, 75244




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           61.      Dominion Square Culpepper LLC
                                                                                          717 Dominion Square
                           c/o Aston Properties
                                                                    Sleepy’s, LLC           Shopping Center,
                    610 E. Morehead Street, Suite 100
                                                                                          Culpeper, VA 22701
                          Charlotte, NC, 28202

           62.           Drake Statesville, LLC
                                                                                        252 Turnersburg Highway,
                     2501-B Plantation Center Drive                 Sleepy’s, LLC
                                                                                          Statesville, NC 28625
                         Matthews, SC, 28105

           63.        Dreamspace Properties, LLC
                    c/o Cambridge Management, Ltd.                                          2317 S. Route 59,
                                                               Mattress Firm, Inc.
                    15255 S. 94th Avenue, Suite 400                                        Plainfield, IL 60431
                         Orland Park, IL, 604062

           64.           DVW Properties, LLC
                         c/o Satus Group, LLC                                               1011 S Main St,
                                                                    Sleepy’s, LLC
                     202 S. Lake Avenue, Suite 300                                       Kernersville, NC 27284
                         Pasadena, CA, 91101

           65.   EAST BROADWAY TUCSON CO. LLC
                   C/O Benenson Capital Partners, LLC                                      5545 E Broadway,
                                                               Mattress Firm, Inc.
                       708 Third Ave, 28th Floor                                           Tucson, AZ 85711
                         New York, NY, 10017

           66.        ELK Bristol Commons LLC
                                                                                         99 Farmington Avenue,
                       489 5th Avenue, 7th Floor                    Sleepy’s, LLC
                                                                                            Bristol, CT 06010
                        New York, NY, 10017

           67.           Emerald Estates, LLC
                        c/o KAMG Management                                              5003 Tacoma Mall Blvd,
                                                               The Sleep Train, Inc.
                       3620 100th St. SW, Suite A                                          Tacoma, WA 98409
                         Lakewood, WA, 98499

           68.      EQY Invest Owner I Ltd., L.L.P.
                    c/o Global Realty & Management                                          1266 Fry Road,
                                                               Mattress Firm, Inc.
                      15866 Champion Forest Drive                                          Houston, TX 77084
                           Spring, TX, 77379

           69.          Estate of Stephen J. Hutt
                     c/o Earl M. Temchin, Executor
                                                                                          927 West Main Street,
                              18 Peck Street                        Sleepy’s, LLC
                                                                                           Branford, CT 06405
                      ATTN: Schettino & Temchin
                        North Haven, CT, 06473

           70.             Fair City HHH, LLC
                        c/o HHH Properties Corp.                                        9600 Main Street Suite B,
                                                                    Sleepy’s, LLC
                        4001 Williamsburg Court                                            Fairfax, VA 22031
                            Fairfax, VA, 22032




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           71.       Fairhaven HUH 2014, LLC
                                                                                     205 Huttleson Avenue Unit
                       221 Huttleston Avenue
                                                                 Sleepy’s, LLC                  #50,
                            Felecia Edel
                                                                                       Fairhaven, MA 02719
                       Fairhaven, MA, 02719

           72.               FHL, LLC
                                                                                          5075 Sunset Blvd,
                        110 Sangaree Parkway                Mattress Firm, Inc.
                                                                                         Lexington, SC 29072
                       Summerville, SC, 29486

           73.           Forum West Ltd.
                                                                                         14791 IH-35, # 108,
                     10010 San Pedro, Suite 650             Mattress Firm, Inc.
                                                                                          Schertz, TX 78154
                      San Antonio, TX, 78216

           74.           Frontier Village, LP
                          c/o Sansone Group                                         115 Sundance Pkwy, Ste 520,
                                                            Mattress Firm, Inc.
                   120 S. Central Avenue, Suite 500                                    Round Rock, TX 78681
                        St. Louis, MO, 63105

           75.       FSU Retail Investors LLC
                        6640 Pine Tree Lane                                          1814 West Tennessee Street,
                                                            Mattress Firm, Inc.
                      ATTN: David Salmanson                                             Tallahassee, FL 32304
                    Miami Beach, FL, 33141-4531

           76.         G2G3 Newington LLC
                                                                                        3475 Berlin Turnpike,
                         100 Westport Ave                        Sleepy’s, LLC
                                                                                        Newington, CT 06111
                        Norwalk, CT, 06851

           77.          Garber Properties, Inc.
                                                                                    9935-51 S. Ridgeland Avenue,
                        115 South Vine Street               Mattress Firm, Inc.
                                                                                      Chicago Ridge, IL 60415
                         Hinsdale, IL, 60521

           78.        Gendell WN Skokie, LLC
                           c/o Terraco, Inc.                                              9240 Skokie Blvd,
                                                            Mattress Firm, Inc.
                  3201 Old Glenview Road, Suite 300                                        Skokie, IL 60077
                          Skokie, IL, 60077

           79.         Geneva Christina LLC
                                                                                        1749 S. Randall Road,
                        533 Ashland Avenue                  Mattress Firm, Inc.
                                                                                          Geneva, IL 60134
                     Chicago Heights, IL, 60411

           80.         GITP Properties I, Ltd.
                         7807 Main Street                                             9930 Katy Freeway, #600,
                                                            Mattress Firm, Inc.
                     ATTN: Lease Administrator                                           Houston, TX 77055
                        Houston, TX, 77030

           81.           Grand Plaza, LLC
                   5850 Canoga Avenue, Suite 650                                    109 S Las Posas Road, Ste 101,
                                                            The Sleep Train, Inc.
                    ATTN: Property Management                                           San Marcos, CA 92078
                     Woodland Hills, CA, 91367



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           82.        Greensboro Battlefield LLC
                           2598 E. Branch                                               2510 Battleground Ave,
                                                               Mattress Firm, Inc.
                       ATTN: Ramesh Bodulla                                              Greensboro, NC 27408
                           Brea, CA, 92821

           83.              GRI Village LP
                        c/o Gart Properties LLC                                      2525 Arapahoe Ave, Ste. E20,
                                                               Mattress Firm, Inc.
                    299 Milwaukee Street, Suite 500                                       Boulder, CO 80302
                          Denver, CO, 80206

           84.               HAP IX LP
                        4703 Timberline Drive                                            1810 FM 685 #200,
                                                               Mattress Firm, Inc.
                        ATTN: Russell Hinds                                             Pflugerville, TX 78660
                          Austin, TX, 78746

           85.     Hartman Cooper Street Plaza, LLC                                   4629 South Cooper St., Ste.
                       2909 Hillcroft, Suite 420               Mattress Firm, Inc.               125,
                         Houston, TX, 77057                                              Arlington, TX 76017

           86.         High Nob-Galleria, LLC
                                                                                      2391 Dave Lyle Blvd, Suite
                       c/o Collett & Associates
                                                               Mattress Firm, Inc.              106,
                  1111 Metropolitan Avenue. Suite 700
                                                                                         Rock Hill, SC 29730
                      Charlotte, NC, 28204-3424

           87.         HMC Lewisville TC, LLC
                                                                                     4770 State Highway 121, Suite
                       8080 Park Lane Suite 800
                                                               Mattress Firm, Inc.               130,
                         ATTN: Anna Corson
                                                                                         Lewisville, TX 75056
                          Dallas, TX, 75231

           88.       Homefield Advantage I, LLC
                      c/o Lane4 Property Group                                        8420 South 71st Plaza Suite
                         4705 Central Street                   Mattress Firm, Inc.               103,
                       ATTN: Owen J Buckley                                              Papillion, NE 68046
                       Kansas City, MO, 64112

           89.           Horn Holdings, LLC
                                                                                          1330 S Torrence,
                        301 West G St, No. 120                 Mattress Firm, Inc.
                                                                                        Calumet City, IL 60409
                        San Diego, CA, 92101

           90.          Houston Westmont, LP
                         c/o PM Realty Group                                             1005 Westheimer Rd,
                                                               Mattress Firm, Inc.
                   3737 Buffalo Speedway, Suite 650                                       Houston, TX 77006
                         Houston, TX, 77098

           91.     Independence Parkway Properties
                                                                                       1834 Matthews Township
                       1990 Niles Cortland Road
                                                                   Sleepy’s, LLC              Parkway,
                          ATTN: Mark Beith
                                                                                         Matthews, NC 28105
                         Cortland, OH, 44410




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           92.             Indian Partners LLC
                                                                                      14045 East Independence Blvd
                  c/o Avison Young-North Carolina LLC
                                                                  Sleepy’s, LLC                 Suite C4,
                    127 West Hargett Street, Suite 100
                                                                                         Indian Trail, NC 28079
                           Raleigh, NC, 27607

           93.           Institution Group, L.L.C.
                    c/o National Shopping Plazas, Inc.
                                                                                        10412 Indianapolis Blvd,
                   200 West Madison Street, Suite 4200            Sleepy’s, LLC
                                                                                          Highland, IN 46322
                        ATTN: Jonathon M. Hanus
                         Chicago, IL, 60606-3465

           94.           Ivanov Grandview, LLC
                         c/o Pegasus Investments
                                                                                         12344 US 71 Highway,
                    1901 Avenue of the Stars, Suite 630         Mattress Firm, Inc.
                                                                                         Grandview, MO 64030
                          ATTN: Justin Herman
                         Los Angeles, CA, 90067

           95.    IVT Shops At Galleria Bee Cave LLC
                  c/o InvenTrust Property Management,
                                  LLC                                                 12908 Shops Pkwy Unit 100,
                                                                Mattress Firm, Inc.
                      2809 Butterfield Rd, Suite 200                                      Bee Cave, TX 78738
                 ATTN: Property Manager - Shannon Erler
                          Oak Brook, IL, 60523

           96.   J. Larry Fugate, as Trustee of the J. Larry
                 Fugate Revocable Trust, dated March 25,
                                    2010                                                11747 East Kellog Drive,
                                                                Mattress Firm, Inc.
                           208 South Maize Road                                            Wichita, KS 67207
                         ATTN: Property Manager
                            Wichita, KS, 67209

           97.            Jackerman Family, LLC
                                                                                            5629 Plank Road,
                         9779 Nickel Ridge Circle                 Sleepy’s, LLC
                                                                                        Fredericksburg, VA 22407
                         Naples, FL, 34120-4661

           98.   James E. Peterson & Katherine M. Meyer
                                                                                           990 Airport Road,
                             28 Valley View                     Mattress Firm, Inc.
                                                                                            Rifle, CO 81650
                     Steamboat Springs, CO, 80488

           99.   JCR Rutherford Crossing Investors, LLC
                      c/o J.C. Reger Interests, Inc.                                      235 Market Street,
                                                                  Sleepy’s, LLC
                 1010 Wisconsin Avenue, NW, Suite 600                                    Winchester, VA 22603
                        Washington, DC, 20007

          100.                 Jing Tai LLC
                 c/o Hayton Financial & Investment Group,
                                                                                        4805 W Irving Park Road,
                                    Ltd.                        Mattress Firm, Inc.
                                                                                           Chicago, IL 60641
                       11 East Broadway, 10th Floor
                          New York, NY, 10038



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